Case 2:05-cv-02498-.]DB-dkv Document 10 Filed 08/22/05 Page 1 of 4 Page|D 13

 

F”~ED e'r g
IN THE UNITED sTATEs DisTRIc'r COURT D-C.
FoR THE wEsTERN DIsTRICT oF TENNESSEE 95 AUG 32
WEsTERN DIVISION p 5~’ 110
JOHN BURRoW, mdividuany and an CEH§ Us se GGULD
behalf arms wife, susan Burraw and sUsAN WD vin§[§;muql
BURROW, individualiy, and an behalf afhar °
husband, John Burrow,
Plaintiffs,
0 5- a WS'~/W¢» V

vs. ~Na.-€-P=eeszsz:es
cer 01= MEMPHIS, DEKEVIAN JURY DEMANDED

SUGGS, NIGEL WILLIAMS,
lndividually, and in his Official
Capacity as a Police Ofiicer for
the City of Mernphis

Defendants.

 

SCHEDULING ORDER

 

Counsel for the parties of this action consulted prior to the scheduling conference set for
August 25, 2005 and agreed subject to this Honorable Court’s approval on the below dates. After
reviewing the proposed scheduling order submitted by counsel, the following dates were established
as final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): by September 8, 2005
JOINING PARTIES: by October 25, 2005

AMENDING PLEADlNGS: by October 25, 2005

INITIAL MOTIONS TO DISMISS: by November 25, 2005

COMPLETING ALL DISCOVERY: by April 25, 2006

(a) DOCUMENT PRODUCTION: by April 25, 2006

Ti'iis document entered on the dock sheet in compliance
with eula 53 and/or re(a) FacP on M$ / 0

Case 2:05-cv-02498-.]DB-dkv Document 10 Filed 08/22/05 Page 2 of 4 Page|D 14

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: by April 25, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINT[FF’S RULE 26 EXPERT
IN`FORMATION: by February 25, 2006

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
]NFORMATION: by March 25, 2006

(3) EXPERT WrrNEss DEPosITIoNs: by Apn'l 25, 2006
FlLlNG DrsPosITIvE MOTIOst by May 25, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of Such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury¢l!lllj* trial, and the trial is expected to last 4 days. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

Case 2:05-cv-02498-.]DB-dkv Document 10 Filed 08/22/05 Page 3 of 4 Page|D 15

This order has been entered auer cons

Absent good cause shown, the schedulin
extended.

ultation With trial counsel pursuant to notice.
g dates set by this order Will not be modified or

IT IS SO ORDERED.

data ha Zaa,aa»

DIANE K. VESCOVO

UNITED srArEs MAGIsTRATE JUDGE
DATE: 621/amax a?¢»?, was
d

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02498 was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
1\/1emphis7 TN 38122--372

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/1emphis7 TN 38119--397

.limmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

Craig V. Morton
MORTON & GERMANY
200 .lefferson Ave.

Ste. 725

1\/1emphis7 TN 38103

Heather Anne Kirksey

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 336

1\/1emphis7 TN 38103

.lean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

1\/1emphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

